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                        EXHIBIT C
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                                 #:62841

 From:             Mark.Kachner
 To:               Passamaneck, Nora Q.E.
 Cc:               Apple-Masimo; Masimo.Apple; WH Apple-Masimo Service List
 Subject:          RE: Masimo v. Apple - transcripts
 Date:             Monday, June 13, 2022 02:49:21 PM


 Nora,

 We agree the ITC trial transcripts are available in the district court case for any purpose.

 Regards, Mark


 From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
 Sent: Monday, June 13, 2022 11:05 AM
 To: Mark.Kachner <Mark.Kachner@knobbe.com>
 Cc: Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>; WH Apple-Masimo Service List <WHApple-
 MasimoServiceList@wilmerhale.com>
 Subject: RE: Masimo v. Apple - transcripts

 Mark,

 Mark,
 With the ITC trial completed, please confirm that the parties’ agreement below regarding cross-use
 includes the ITC trial transcripts.
 Thank you,
 Nora


 From: Passamaneck, Nora Q.E.
 Sent: Friday, June 3, 2022 7:32 PM
 To: Mark.Kachner <Mark.Kachner@knobbe.com>
 Cc: Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>; WH Apple-Masimo Service List <WHApple-
 MasimoServiceList@wilmerhale.com>
 Subject: RE: Masimo v. Apple - transcripts

 Mark,
 Apple agrees that ITC transcripts and the Sellers transcript, and accompanying exhibits are available
 in the district court case for any purpose.
 Regards,
 Nora


 From: Mark.Kachner <Mark.Kachner@knobbe.com>
 Sent: Thursday, June 2, 2022 11:19 PM
 To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>



                                                                                                         Exhibit C
                                                                                                            -273-
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 Cc: Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>; WH Apple-Masimo Service List <WHApple-
 MasimoServiceList@wilmerhale.com>
 Subject: RE: Masimo v. Apple - transcripts

  EXTERNAL SENDER


 Nora,

 During our call yesterday concerning my May 26 letter and our request to discuss Masimo and Apple
 using the transcripts from the pending ITC investigation and the deposition transcript of Denby
 Sellers taken in True Wearables, as well as exhibits cited therein, Apple asked for clarification on how
 Masimo intends to “use” those transcripts in the district court case. We propose to treat the
 depositions as available as if taken in this case. Since the ITC trial transcript does not exist yet, it is
 not really possible to identify the intended use. As I explained on our call, our intention when we
 made the request was that the transcripts be available for impeachment. But based on our
 discussion and the examples you offered as other potential “uses” (such as citing a transcript as
 affirmative evidence in this case), we do not see any reason why these transcripts would not be
 available for any purpose in this district court litigation. By tomorrow, please let us know Apple’s
 position on whether the ITC transcripts and the Sellers transcript, and accompanying exhibits are
 available in the district court case for any purpose.

 Regards, Mark

 Mark Kachner
 Partner
 310-407-3472 Direct
 Knobbe Martens

 From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
 Sent: Wednesday, June 1, 2022 9:53 AM
 To: Mark.Kachner <Mark.Kachner@knobbe.com>
 Cc: Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>; WH Apple-Masimo Service List <WHApple-
 MasimoServiceList@wilmerhale.com>
 Subject: RE: Masimo v. Apple - transcripts

 We’re available at 4.


 From: Mark.Kachner <Mark.Kachner@knobbe.com>
 Sent: Wednesday, June 1, 2022 10:38 AM
 To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
 Cc: Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>; WH Apple-Masimo Service List <WHApple-


                                                                                                          Exhibit C
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 MasimoServiceList@wilmerhale.com>
 Subject: RE: Masimo v. Apple - transcripts

  EXTERNAL SENDER


 Nora,

 I have a conflict at 1p today. Are you available at 2p or later?

 Thanks, Mark

 Mark Kachner
 Partner
 310-407-3472 Direct
 Knobbe Martens

 From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
 Sent: Wednesday, June 1, 2022 9:30 AM
 To: Mark.Kachner <Mark.Kachner@knobbe.com>
 Cc: Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>; WH Apple-Masimo Service List <WHApple-
 MasimoServiceList@wilmerhale.com>
 Subject: RE: Masimo v. Apple - transcripts

 Hi Mark,
 We are available at 1:00 PST. If this time works for you please circulate a dial-in.
 Thanks, Nora


 From: Mark.Kachner <Mark.Kachner@knobbe.com>
 Sent: Tuesday, May 31, 2022 6:06 PM
 To: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
 Cc: Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>; WH Apple-Masimo Service List <WHApple-
 MasimoServiceList@wilmerhale.com>
 Subject: RE: Masimo v. Apple - transcripts

  EXTERNAL SENDER


 Nora,

 Please provide your availability to meet and confer regarding my May 26 letter regarding transcripts.

 Thanks, Mark


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                                                                                                        -275-
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 Mark Kachner
 Partner
 310-407-3472 Direct
 Knobbe Martens

 From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
 Sent: Friday, May 27, 2022 4:57 PM
 To: Mark.Kachner <Mark.Kachner@knobbe.com>
 Cc: Apple-Masimo <Apple-Masimo@gibsondunn.com>; Masimo.Apple
 <Masimo.Apple@knobbe.com>; WH Apple-Masimo Service List <WHApple-
 MasimoServiceList@wilmerhale.com>
 Subject: Masimo v. Apple - transcripts

 Mark,
 It appears you inadvertently did not include the WH listserv on your letter sent yesterday. I will
 follow up early next week with availability to meet and confer as requested.
 Regards,
 Nora

 Nora Q.E. Passamaneck | WilmerHale
 1225 Seventeenth St.
 Suite 2600
 Denver, CO 80202 USA
 +1 720 274 3152 (t)
 +1 720 274 3133 (f)
 nora.passamaneck@wilmerhale.com

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                         EXHIBIT F
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                        EXHIBIT G
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                            EXHIBIT I
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